Case 1:18-cr-00031-AB.] Document 2 Filed 02/20/18 Page 1 of 1

NOT|CE OF APPEARANCE |N A CRFM|NAL CASE

CLERK’S OFFICE
UN|TED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF COLUMB|A
WASH|NGTON, D.C. 20001

UN|TED STATES OF ANIER|CA

VS- Crimina| Number 18'C'R'31 (ABJ)

ALEX VAN DER ZWAAN
(Defendant)

 

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOT|F|ED THAT | APPEAR FOR THE DEFENDANT lND|CATED
ABOVE |N THE ENT|TLED ACT|ON.
l AIV| APPEAR|NG IN TH|S ACT|ON AS: (P|ease Check One)

I:I CJA E| RETA|NED |:| FEDERAL PUBL|CDEFENDER

S/David E. Mills

 

(Signarure)

PLEASE PRINT THE FOLLO\NING INFORMATION:

David E. |V|i||S (401979)

(Attomey & Bar ID Number)
COOLEY LLP

 

 

(Fjrm Name)

1299 Pennsy|vania Ave., NW, Suite 700

(Streer Address)
Washington, DC 20004
(City) (Sfafe) (Zip)
202-776-2865

(Te.'ephone Number)

 

 

 

